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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )           No. 21-mj-174
                                                 )
PAUL WESTOVER,                                   )
                                                 )
       Defendant.                                )



              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE


       Pursuant to Civil Local Rule 83.2(d), Carlos M. Recio moves for the admission and

appearance of attorney John T Davis pro hac vice in the above-entitled action. This motion is

supported by the Declaration of John T Davis, filed herewith. As set forth in Mr. Davis’

declaration, he is admitted and an active member in good standing the following courts and bars:

the Missouri Bar, the U.S. District Court for the Eastern District of Missouri, and the U.S.

District Court for the Southern District of Illinois. This motion is supported and signed by Carlos

M. Recio, an active and sponsoring member of the Bar of this Court.

Dated: April 21, 2021
                                              Respectfully submitted,


                                              /s/ Carlos M. Recio
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